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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

____________________________________________
                                            :
DIONNA HARRELL,                             :                        CIVIL ACTION
                                            :
                  Plaintiff,                :
                                            :                        No. 17-2960
            v.                              :
                                            :
RITE AID CORPORATION, et al.                :
                                            :
                  Defendants.               :
___________________________________________ :

                                    SCHEDULING ORDER

      AND NOW, this 20th day of September, 2018, following a preliminary pretrial

conference, it is ORDERED that:

      1.       This case is referred to Magistrate Judge David R. Strawbridge for settlement

               purposes. Judge Strawbridge will contact counsel to initiate the settlement process

               and shall hold the scheduling conference no later than November 19, 2018.

      2.       All motions to amend the complaint and to join or add additional parties shall be

               filed within fourteen (14) days of the date of this Order.

      3.       All fact discovery shall be completed by January 17, 2019.

      4.       Plaintiff shall produce her expert report(s) by February 14, 2019. Defendants

               shall produce their expert report(s) by March 7, 2019. Plaintiff’s expert witness

               rebuttal reports (if necessary) shall be produced by March 28, 2019. All expert

               discovery, including all depositions of expert witnesses, shall be completed by

               April 25, 2019.
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5.       Any party expecting to offer opinion testimony from lay witnesses pursuant to

         Federal Rule of Evidence 701 with respect to the issues of liability and/or

         damages shall, within the time required for the submission of expert discovery set

         forth above, serve opposing parties with concise details and/or documents

         covering the lay opinions of the Rule 701 witnesses, including the identity of each

         witness offering the lay opinion, the substance and the basis for each opinion.

6.       All motions for summary judgment and Daubert motions shall be filed no later

         than May 9, 2019.

7.       Responses to motions for summary judgment and Daubert motions, if any, shall

         be filed no later than May 30, 2019.

8.       Following resolution of any dispositive motions, Plaintiff may move for class

         certification.




                                           BY THE COURT:

                                           /s/ Mitchell S. Goldberg

                                           ____________________________
                                           MITCHELL S. GOLDBERG, J.
